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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION


 IOWANS FOR ALTERNATIVES TO                              Case No.: 24-cv-448
 SMOKING & TOBACCO, INC.; GLOBAL
 SOURCE DISTRIBUTION, LLC; WAGES
 AND WHITE LION INVESTMENTS, LLC                      JOINT MOTION TO VACATE
 d/b/a TRITON DISTRIBUTION; SMOKIN                HEARING ON PLAINTIFFS’ ORIGINAL
 HOT LLC; CENTRAL IOWA VAPORS                         MOTION FOR PRELIMINARY
 WDM, LLC; TASTE THE VAPE LLC d/b/a                 INJUNCTION FROM CALENDAR,
 ROUTE 69 VAPOR; MARTINA PAGANO;                   DENY SUCH MOTION AS MOOT, SET
 AND JAMES COLE,                                  DEADLINE FOR FILING OF RENEWED
                                                      MOTION FOR PRELIMINARY
         Plaintiffs,                                  INJUNCTION, AND SET NEW
                                                           HEARING DATE
 v.

 THE IOWA DEPARTMENT OF REVENUE
 AND MARY MOSIMAN, DIRECTOR OF
 THE IOWA DEPARTMENT OF
 REVENUE,


        Defendants.


        Plaintiffs Iowans for Alternatives to Smoking & Tobacco, Inc., Global Source Distribution,

LLC, Wages and White Lion Investments, LLC d/b/a Triton Distribution, Smokin Hot, L.L.C.,

Central Iowa Vapors WDM, LLC, Taste the Vape d/b/a Route 69 Vapor, Martina Pagano, and

James Cole and Defendants Iowa Department of Revenue and Mary Mosiman, Director of the

Iowa Department of Revenue, jointly submit this motion to request that the Court vacate the

hearing set for March 5, 2025, on Plaintiffs’ motion for preliminary injunction (ECF No. 2); deny

that motion as moot; set a deadline of February 21, 2025, for Plaintiffs to file a renewed motion

for preliminary injunction; and set a new hearing date on Plaintiffs’ forthcoming renewed motion

for preliminary injunction.



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        Plaintiffs filed their original complaint in this action on December 17, 2024 (ECF No. 1)

and moved for a preliminary injunction simultaneously therewith (ECF No. 2). Pursuant to

Defendants’ unopposed motion (ECF No. 9), the Court ordered a modified briefing schedule and

set a hearing on the motion for March 5, 2025.

        Defendants filed their opposition to Plaintiffs’ motion for preliminary injunction (ECF No.

24) on January 29, 2025. Thereafter, on February 19, 2025, Plaintiffs filed their First Amended

Complaint as of right to add two individual Iowa consumers, Martina Pagano and James Cole, as

additional plaintiffs.

        On February 14, 2025, and February 17, 2025, counsel for the parties conferred and agreed

that the filing of Plaintiffs’ First Amended Complaint necessitates the filing of a renewed motion

for preliminary injunction since Plaintiffs Pagano and Cole will now also join in the motion.

Accordingly, the parties agreed that Plaintiffs would file their renewed motion for preliminary

injunction by Friday, February 21, 2025, Defendants would file their response to the motion by

Friday, March 7, 2025, and Plaintiffs would file their reply in support of the motion by Friday,

March 14, 2025.

        Defendants agree to continue to stay enforcement of the vapor products directory under

Iowa Code sections 453A.52 through 453A.52G pending resolution of Plaintiffs’ forthcoming

renewed motion for preliminary injunction and disposition of any stay motion in the Eighth Circuit.

Staying the Department’s enforcement does not include continued preparation of the directory.

        WHEREFORE, the parties respectfully request that the Court enter an order (i) vacating

the hearing set for March 5, 2025, on Plaintiffs’ original motion for preliminary injunction; (ii)

denying Plaintiffs’ original motion for preliminary injunction as moot pending the filing of

Plaintiffs renewed motion for preliminary injunction; (iii) setting February 21, 2025, as the



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deadline for Plaintiffs to file the renewed motion for preliminary injunction; and (iv) setting a new

hearing date after March 19, 2025, on Plaintiffs’ renewed motion for preliminary injunction.



Dated: February 19, 2025                      Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of February, 2025, I caused the foregoing to be

electronically filed with the Clerk via the Court’s ECM / ECF system, and thereby electronically

served on all counsel of record.



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